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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

THE NEW YORK TIMES COMPANY,

                Plaintiff,               Civil Action No. 1:23-cv-11195 (SHS) (OTW)

                    v.

MICROSOFT CORPORATION, OPENAI,
INC., OPENAI LP, OPENAI GP, LLC,
OPENAI, LLC, OPENAI OPCO LLC,
OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, and OPENAI
HOLDINGS, LLC,

              Defendants.

DAILY NEWS, LP, et al.,                  Civil Action No. 1:24-cv-3285 (SHS) (OTW)

             Plaintiffs,

                     v.

MICROSOFT CORPORATION, et al.,

             Defendants.




                     [PROPOSED] STIPULATION & ORDER RE:

         DISCOVERY OF ELECTRONICALLY STORED INFORMATION




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       To expedite the flow of discovery material and to facilitate the consistency in the format

of the documents to be produced by the parties in this case, Plaintiffs and Defendants (collectively

“Parties”), by and through their respective counsel, hereby stipulate and agree to the terms of this

[Proposed] Stipulation & Order Re: Discovery of Electronically Stored Information (the “ESI

Protocol” or “Protocol”).

       1.      This Order supplements all other discovery rules and orders. It streamlines

               Electronically Stored Information (“ESI”) production to promote a “just, speedy,

               and inexpensive determination” of this action, as required by Federal Rule of Civil

               Procedure 1.

       2.      This Order may be modified at the Court’s discretion or by stipulation.

       3.      The parties are aware of the importance the Court places on cooperation and

               commit to cooperate in good faith throughout the matter consistent with this Court’s

               expectations.

       4.      The Producing Party will conduct a reasonable investigation to identify custodians

               and use search terms reasonably calculated to identify responsive materials

               consistent with the parties’ discovery obligations pursuant to the Federal Rules of

               Civil Procedure.

       5.      The Producing Party will in the first instance propose search terms and custodians

               and corresponding hit reports. The parties will negotiate in good faith, including by

               meeting and conferring, to identify custodians and search terms. The Producing

               Party will provide hit reports for proposed search terms, including search terms

               proposed by a Receiving Party after the date of this Order, to inform such

               negotiations. If the Receiving Party makes a proposal for additional search terms




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        for current custodians, the Producing Party must either (a) respond within three

        business days by either accepting a proposal or rejecting it and providing a hit report

        for the Receiving Party’s proposal, or (b) respond within five business days by

        making a counterproposal and providing a hit report for both the Receiving Party’s

        proposal and the Producing Party’s counterproposal. If the Receiving Party makes

        a proposal for additional custodians, the Producing Party must respond within eight

        business days by either accepting a proposal, rejecting it, or making a

        counterproposal and providing a hit report.

   6.   The parties will disclose at the outset any use of enterprise messaging tools, such

        as Slack or MS Teams, including the type of subscription and retention settings in

        place. The parties will meet and confer regarding issues relating to the parameters

        for collection of such data, the format of the production, and other unique issues to

        this type of data, including but not limited to the parsing of the conversations.

   7.   A party must disclose in advance if it intends to use technology assisted review

        (“TAR”). The parties shall meet and confer in good faith regarding disputes

        pertaining to the use of TAR. If, after a timely objection and meet and confer

        conference, the dispute is still unresolved, the party opposing the use of TAR must

        file a letter with the Court as provided in Section II.b. of the Court’s Individual

        Practices within five (5) business days of the parties’ conference.

   8.   Production Format for ESI.

        a.     Except as otherwise provided in this Order, all documents existing in

               electronic format (e.g., Word, PDF, webpage files) shall be produced as 300

               DPI TIFF black and white images with 1-bit depth and with a Bates number




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              stamped on each page, document metadata (including extracted or OCR

              text), and a link to the associated extracted or OCR text file. The parties will

              consider re-producing select and specifically identified color documents as

              paginated color JPGs upon reasonable request by the Receiving Party.

        b.    Source code and certain other highly confidential technical materials shall

              be governed by the terms of the parties’ separately negotiated agreement(s).

        c.    Spreadsheet-type files (e.g., Microsoft Excel), PowerPoint files, and

              Multimedia files (video, audio, voicemail, etc.) should be produced in

              native format unless they require redaction. Documents produced in native

              format should be named according to the Bates number assigned, with the

              Confidentiality designation appended to the Bates numbers with a hyphen.

              Single-page Bates-stamped TIFF image slip-sheets will be included for

              each document produced in native format. The slip-sheets will display the

              Bates number of the native file, the Confidentiality endorsement, and an

              endorsement stating, “File Produced Natively.”

        d.    For Excel and PowerPoint type files that are printed to TIFF for redaction

              and redacted (rather than redacted in native), the following printing options

              shall be enabled:

              i.     Excel Print to TIFF Options

                     1.      Unhide columns and rows
                     2.      Unhide worksheets
                     3.      Autofit columns and rows, settings to be over by columns
                             first and, then down by rows
                     4.      Print gridlines
                     5.      Do not apply Autofilter
                     6.      Display headings
                     7.      Display comments



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                        8.     Header and Footer filename field handling: Show field code

                ii.     PowerPoint Print to TIFF Options

                        1.     Print notes pages
                        2.     Print hidden slides
                        3.     Print comments

         e.     The Producing Party shall also make reasonable efforts to ensure that any

                spreadsheets produced only as TIFF images because of redactions are

                formatted so as to be legible. For redacted items which were originally ESI,

                all metadata fields noted in this protocol that do not contain privileged or

                protected information will be provided and will include all non-redacted

                data. A document’s status as redacted does not relieve the Producing Party

                from providing all of the metadata required herein.

         f.     All attachments, addendums, enclosures, and/or exhibits to a parent

                document will be, to the extent reasonably possible, produced immediately

                following the parent document and identified as they relate to the respective

                parent document with the parent/child relationship intact.

         g.     The parties shall meet and confer in good faith regarding reasonable

                methodologies to query or sample training data.

   9.    Metadata. Load or Concordance DAT files should include, where applicable and to

         the extent it exists and was captured at the time of the collection, the information

         listed in Exhibit A attached. To the extent that metadata does not exist or is not

         reasonably accessible or available for any documents produced, nothing in this

         Order shall require any party to extract, capture, collect or produce such metadata.

   10.   Privilege Logs. A party that withholds or redacts documents, ESI, and any other

         materials and information on the grounds of attorney-client privilege, attorney work


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        product, and/or any other applicable privilege, immunity or protection from

        discovery, shall produce a privilege log. The following documents and

        communications need not be included on a privilege log: (1) privileged

        communications exclusively between a party and its outside or in-house counsel on

        or after September 9, 2023, (2) work product performed by a party at the direction

        of its outside or in-house counsel on or after September 9, 2023, and (3) privileged

        or work product documents or communications between a party and its outside or

        in-house counsel related to the following lawsuits and investigations: Doe 1, et al.

        v. GitHub, Inc. et al., Case No. 4:22-cv-06823-JST (N.D. Cal.); In re OpenAI

        ChatGPT Litigation, Case No. 3:23-cv-03223-AMO (N.D. Cal.); Authors Guild, et

        al., v. OpenAI, Inc, et al., Case No. 1:23-cv-08292-SHS (S.D.N.Y.); Alter, et al. v.

        OpenAI Inc. et al., 23-cv-10211-SHS (S.D.N.Y.); The New York Times Company

        v. Microsoft Corp. et al., 23-cv-11195-SHS (S.D.N.Y.); Basbanes et al. v.

        Microsoft Corp. et al., 24-cv-00084-SHS (S.D.N.Y.); The Intercept Media, Inc. v.

        OpenAI, Inc. et al., Case No. 1:24-cv-01515-JSR (S.D.N.Y.); Raw Story Media,

        Inc. et al v. OpenAI Inc. et al., 1:24-cv-01514-CM (S.D.N.Y.); Daily News LP et

        al. v. Microsoft Corp. et al., 1:24-cv-03285-SHS-OTW (S.D.N.Y.); The Center for

        Investigative Reporting, Inc. v. OpenAI, Inc. et al., 1:24-cv-04872-SHS-OTW

        (S.D.N.Y.); Millette v. OpenAI, Inc. et al., 5:24-cv-04710-EJD (N.D. Cal.); the

        pending Federal Trade Commission Investigation, FTC File No. 232-3044, and any

        other subsequently filed or commenced lawsuits or investigations relating to

        OpenAI or Microsoft. Privilege logs shall be served within a reasonable time after




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        the parties’ substantial completion of production of documents. The privilege log

        shall be produced in Excel format and include:

        a.     A unique number for each entry on the log.

        b.     Date of document for all ESI and to the extent known or discernible for all

               hard copy documents. For emails this should be the sent date of the

               document and for loose ESI this should be the last-modified or create date

               of the document.

        c.     Custodian of the document. For emails this should be populated with the

               metadata extracted from the Custodian(s) field. For loose ESI, this should

               be populated with the Custodian value assigned to the instance of the

               document in question.

        d.     Author of the document. For emails this should be populated with the

               metadata extracted from the “Email From” field associated with the file. For

               loose ESI, this should be populated with the metadata extracted from the

               “Author” field. For hard copy documents, this will be populated with the

               “Custodian.”

        e.     Recipient(s) of the document where reasonably ascertainable. For emails

               this will be populated with the metadata extracted from the “Email To” field

               associated with the file. Separate columns will be included for the metadata

               extracted from the “Email CC” and “Email BCC” fields, where populated.

        f.     The type of privilege being asserted, for example: (a) AC for

               Attorney/Client, (b) WP for Attorney Work Product, (c) CI for Common

               Interest.




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         g.     The reason for the redaction. If more than one reason, separate by

                semicolons.

         h.     Nothing in Paragraph 10 of this Order shall be read to preclude the parties

                from logging documents categorically or read to be inconsistent with Local

                Rule 26.2.

   11.   Any party that issues a non-party subpoena shall timely notify other parties when

         it receives non-party productions of documents, ESI or other responses from the

         non-party, and shall timely provide copies of all such productions in the format in

         which they were received from the non-party to the other parties. If the non-party

         produces documents or ESI that are not Bates labeled, the Receiving Party will

         Bates-label the documents or ESI before producing a copy to the other parties if the

         produced documents or ESI are of the type so requiring consistent with other

         provisions of this Order. Nothing in this Protocol precludes a Receiving Party from

         reviewing a non-party production of documents or ESI and applying (if the non-

         party produced documents without a confidentiality designation) or elevating a

         confidentiality   designation   (e.g.,   elevating   documents     designated    as

         “CONFIDENTIAL” to “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

         ONLY”) if the production contains confidential or extremely sensitive information.

   12.   Technical Variances. Recognizing that each Producing Party may experience

         production issues due to data systems or files that may not be fully compatible with

         the technical specifications set forth herein, any practice or procedure set forth

         herein may be varied by agreement of the parties, confirmed in writing, to

         accommodate such issues and/or where such variance is deemed appropriate to




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         facilitate the timely and economical production of documents or ESI. No Party shall

         unreasonably object to any such variance.

   13.   Reproduction as Natives. The parties agree that to the extent any party seeks

         production in native format of specifically identified ESI produced originally in

         TIFF form, the Producing Party shall respond reasonably and in good faith to any

         such request.

   14.   Pursuant to Fed. R. Evid. 502(d) and (e), the disclosure during discovery of any

         communication, information, or material that is protected by the attorney-client

         privilege or work-product protection, as defined by Fed. R. Evid. 502(g), shall not

         waive the privilege or protection in the above-captioned case, or any other federal

         or state proceeding, for either that communication, information, or material or the

         subject matter of the same, unless there is an intentional waiver of the privilege or

         protection to support an affirmative use of such communication, information, or

         material in support of the party’s claim or defense, in which event the scope of any

         such waiver shall be determined by Fed. R. Evid. 502(a)(2) and (3).

   15.   In the event of an inadvertent production of material protected by the attorney-client

         privilege or work-product protection, the producing party may notify the receiving

         party within 30 days after the producing party becomes aware of such inadvertent

         production. Upon notification, the receiving party shall immediately return,

         sequester, or destroy the inadvertently-produced Discovery Material and all copies

         as well as notes, summaries, and/or work product reflecting the content of such

         material. If only a portion of the Discovery Material is privileged, the Producing

         Party shall immediately provide a new version of the Discovery Material in which




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             the privileged material has been redacted. No further use or disclosure shall be

             made of the inadvertently-produced Discovery Material, and the Receiving Party

             shall take all reasonable and appropriate steps to retrieve and destroy the Discovery

             Material, and all copies, from any person who has received the Discovery Material

             through the Receiving Party.

      IT IS SO STIPULATED, through Counsel of Record.

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 Sentinel Communications Company, LLC;
 Sun-Sentinel Company, LLC; San Jose
 Mercury-News, LLC; DP Media Network,
 LLC; ORB Publishing, LLC; and Northwest
 Publications, LLC




         IT IS ORDERED that the forgoing Agreement is approved.

Dated:



                                                   HON. ONA T. WANG
                                                United States Magistrate Judge



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                                        EXHIBIT A

                                               Native Files & Email
       Field    Data Type          Paper                                    Email
                                                    Attachments
BegDoc         Integer -      Starting Bates # Starting Bates #     Starting Bates #
               Text
EndDoc         Integer -      Ending Bates #      Ending Bates #        Ending Bates #
               Text
BegAttach      Integer -      Starting bates #    Starting bates # of   Starting bates # of
               Text           of document         document family       document family
                              family
EndAttach      Integer -      Ending bates #      Ending bates # of     Ending bates # of
               Text           of document         document family       document family
                              family
Custodians     Text –                             All names of people All names of people
               paragraph                          the document was       the document was
               Separate                           collected from even if collected from even
               entries with                       removed from           if removed from
               “;”                                production as a        production as a
                                                  duplicate              duplicate
From           Text -                                                    Sender of message
               paragraph
To             Text –                                                   Recipients of
               paragraph                                                message
               Separate
               entries with
               “;”
CC             Text –                                                   Copied recipients
               paragraph
               Separate
               entries with
               “;”
BCC            Text –                                                   Blind copied
               paragraph                                                recipients
               Separate
               entries with
               “;”
Subject        Text -                                                   Subject of message
               paragraph
DateSent       Date                                                     Date message sent
               (mm/dd/yyy
               y)
DateReceived   Date                                                     Date message
               (mm/dd/yyy                                               received
               y)



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                                                     Native Files & Email
     Field         Data Type         Paper                                       Email
                                                         Attachments
FileName          Text -                            Name of original file Name of original file
                  paragraph                         including extension including extension
FileExtension     Text                              Extension of original Extension of
                                                    file                  original file
DateCreated       Date/Time                         Date file was created
                  (mm/dd/yyy
                  y)
DateModified      Date/Time                   Date file was last
                  (mm/dd/yyy                  modified
                  y)
Author            Text -                      Document author
                  paragraph                   from metadata
Confidentiality   Single     Designation      Designation branded Designation branded
                  choice     branded onto the onto the document       onto the document
                             document
FullText          Link       Link to the      Link to the extracted Link to the extracted
                             extracted or     or OCR text file        or OCR text file
                             OCR text file
DocLink           Link       Link to the      Link to the native file Link to the native
                             native file                              file
MD5Hash           Text                              The MD5Hash value The MD5Hash value
                                                    of the file       of the file
AttachNam         Text –                                                  File name of the
                  paragraph                                               attachment, with any
                  Separate                                                attachments
                  entries with                                            separated by
                  “;”                                                     semicolon.
PgCount           Integer      Number of pages Number of pages in         Number of pages in
                               in the item     the item                   the item
Custodian         Text –       Name of person       Name of person or     Name of person or
                  paragraph    or source from       source from           source from
                               whose/which          whose/which files the whose/which files
                               files the item is    item is produced      the item is produced
                               produced
ParentDate/Sort Date/Time                           The date associated The date associated
Date            (mm/dd/yyy                          with a family’s parent with a family’s
                y)                                  record, which is       parent record, which
                                                    assigned as follows: is assigned as
                                                                           follows:




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                                                    Native Files & Email
     Field        Data Type        Paper                                         Email
                                                         Attachments
                                                    Loose Edocs           Emails populated
                                                    populated with 1st    with 1st occurrence:
                                                    occurrence of Date    Date Sent or Date
                                                    Last Modified or Date Received or Date
                                                    Created.              Last Modified.
                                                                          Email attachments
                                                                          populated from the
                                                                          date above. Outlook
                                                                          Appointments
                                                                          populated with 1st
                                                                          occurrence of Start
                                                                          Date or Date Last
                                                                          Modified.
TimeReceived     Time                                                      Time email or
                                                                           calendar item was
                                                                           received (Date and
                                                                           time fields may be
                                                                           combined)
FileSize         Integer                            Size (in kilobytes) of Size (in kilobytes) of
                                                    the source native file the source native file
SourceFilePath   Text –                             The directory           The directory
                 paragraph                          structure or path       structure or path
                                                    where the original file where the original
                                                    was stored on the       file was stored on
                                                    Party’s source          the Party’s source
                                                    computer system,        computer system,
                                                    ending in the           ending in the
                                                    filename. Any           filename. Any
                                                    container name (such container name
                                                    as ZIP or PST           (such as ZIP or PST
                                                    containers) is          containers) is
                                                    included in the path. included in the path.
SourceParty      Text –       Name of entity        Name of entity or      Name of entity or
                 paragraph    or Party              Party producing the    Party producing the
                              producing the         item                   item
                              item
RecordType       Single                             Indicates item type    Indicates item type
                 choice                             (e.g., email, edoc,    (e.g., email, edoc,
                                                    attachment)            attachment)




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                                              Native Files & Email
     Field     Data Type        Paper                                       Email
                                                    Attachments
FileType      Single                          (e.g., Outlook, Adobe (e.g., Outlook,
              choice                          Acrobat, MS Word, Adobe Acrobat, MS
                                              etc.)                 Word, etc.)

TimeSent      Time                                                    (e.g., Outlook,
(hh:mmAM/P                                                            Adobe Acrobat, MS
M)                                                                    Word, etc.)
Number of     Integer                                                 Number of attached,
Attachments                                                           embedded or
                                                                      grouped items
TimeCreated   Time                            Time the item was
(hh:mm                                        created (Date and
AM/PM)                                        time fields may be
                                              combined)
ModifiedBy    Text –                          Person who last
              paragraph                       modified or saved the
                                              item, as populated in
                                              the metadata or
                                              document properties
                                              of the native file
LastModTime   Time                            Time the item was
(hh:mm                                        last modified
AM/PM)
Title         Text -                        Any value populated
              paragraphe                    in the Title field of the
                                            source file metadata
                                            or item properties
Redacted      Single       User-generated User-generated field User-generated field
              choice       field that will  that will indicate        that will indicate
                           indicate         redactions. With the redactions. With the
                           redactions. With word “REDACTED”. word
                           the word         Otherwise, blank.         “REDACTED”.
                           “REDACTED”.                                Otherwise, blank.
                           Otherwise,
                           blank.




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